    Case 19-03224             Doc 22     Filed 04/12/19 Entered 04/12/19 23:28:35                   Desc Imaged
                                         Certificate of Notice Page 1 of 2
Form definmgt

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Eastern Division
                                                 219 S Dearborn
                                                    7th Floor
                                                Chicago, IL 60604



In Re:
                                                                  Case No. 19−03224
Dan Valentine                                                     :
1324 Coolidge St.                                                 Chapter : 7
Sterling, CO 80751                                                Judge :   Carol A. Doyle
SSN: xxx−xx−1994 EIN: N.A.
dba Camelot Computer Enterprises




                 NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 7 OR CHAPTER 11 CASES
                             OF REQUIRED DOCUMENT FOR DISCHARGE

      Unless an approved Personal Financial Management Course Provider has notified the Court that you have
completed the course, you must complete and file Certification About a Financial Management Course (Official Form
423) pursuant to Bankruptcy Rule 1007(b)(7). Please include the certificate number on Official Form 423 or attach
the certificate you received from the approved Personal Financial Management Course Provider.
    A list of "Approved Debtor Education Providers" is available at the U.S. Trustee's website at
www.justice.gov/ust/eo/bapcpa/ccde/index.htm.

         Official Form 423 is available at our website at www.ilnb.uscourts.gov/Forms/

      You must file Official Form 423 within 60 days after the first date set for the meeting of creditors under § 341.
If you do not file Official Form 423, your case will be closed without a discharge. You will still be liable for the debts
you owed before filing. If you subsequently file a Motion to Reopen, you must pay the reopening fee.

         If you are represented by an attorney, please contact your attorney for guidance.

         If you have any questions about submitting the form, please call 312−408−5000.



                                                              FOR THE COURT




Dated: April 10, 2019                                         Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
          Case 19-03224            Doc 22       Filed 04/12/19 Entered 04/12/19 23:28:35                         Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-03224-CAD
Dan Valentine                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 10, 2019
                                      Form ID: definmgt                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 12, 2019.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: pascal@rkfd.com Apr 11 2019 00:45:27     Dan Valentine,   1324 Coolidge St.,
                 Sterling, CO 80751-2218
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 12, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 10, 2019 at the address(es) listed below:
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Ronald R Peterson   rpeterson@jenner.com, rpeterson@ecf.axosfs.com;docketing@jenner.com
                                                                                            TOTAL: 2
